
925 N.E.2d 1171 (2010)
PEOPLE State of Illinois, respondent,
v.
William STELLWAGEN, etc., petitioner.
No. 107767.
Supreme Court of Illinois.
March 24, 2010.
Petition for leave to appeal denied.
In the exercise of this Court's supervisory authority, the Appellate Court, First District, is directed to vacate its order in People v. Stellwagen, case No. 1-06-3180 (08/22/08). The appellate court is instructed to reconsider its decision in light of People v. Morris, 236 Ill.2d 345, 338 Ill. Dec. 863, 925 N.E.2d 1069 (2010), to determine whether a different result is warranted.
